Case 2:13-cv-00193 Document 775-6 Filed on 11/19/14 in TXSD Page 1 of 1
Election Identification Certificates
County Participation
| Day/Week | Date Region 1A Region 1B Region 2A Region 2B Region 3 Region 4 Region 5 Region 6A Region 6B
Motley County
County 2nd Courthouse
701 Dundee, Matador, TX
EIC Unit 61
[Wednesday | 30 Oct
Camp County

Camp County Annex Building

Edwards County

Glasscock County

Archer County

Bandera County

Blanco County

115 North AVE, Pittsburg, TX Sheriff's Office Glasscock Community Center County Courthouse Ray Mauer Annex Trinity Lutheran Church
AOCa 9 on : 404 W Austin, Rock Springs, TX 117 S Myrl, Garden City, TX 100 S Center ST, Archer City, TX 403 12th ST, Bandera, TX 703 N Main ST, Blanco, TX
penn tte Cees EIC Unit EIC Unit 31 EIC Unit 47 EIC Unit EIC Unit 42

EIC Unit 91

Sey La Salle County Sterling County Dickens County Karnes County

502 E ae 1X County Courthouse County Courthouse North Dickens County Senior Center County Courthouse

10 m.-2p.m i 101 Courthouse Square, Cotulla, TX 609 4th AVE, Sterling City, TX 511 Montgomery, Dickens, TX 210 W Calvert, Karnes City, TX

EIC Unit 92 ’ EIC Unit EIC Unit 37 EIC Unit 56 EIC Unit

Upton County
Public Library
212 W 7th ST, McCamey, TX
EIC Unit 35

Foard County
Sheriff's Office Conference Room
110 S First ST, Crowell, TX
EIC Unit 57

Mason County
Mason County Museum
505 Moody ST, Mason, TX
EIC Unit

Hartley County
County Courthouse
900 Main ST, Channing, TX
EIC Unit 59

Motley County
County 2nd Courthouse
701 Dundee, Matador, TX
EIC Unit 61

[Thursday | 31 Oct
Sooty a Somervell County Aransas County Concho County Archer County Bandera County Blanco County
SSN AE EEE Somervell County Offices County Courthouse City Council Chambers County Courthouse Ray Mauer Annex District Court Room #23 on 2nd Floor
He ‘5 on 107 Vernon, Glen Rose, TX 301 N Live Oak ST, Rockport, TX 120 Paint Rock ST, Eden, TX 100 S Center ST, Archer City, TX 403 12th ST, Bandera, TX 101 E Pecan ST, Johnson City, TX
ae ares EIC Unit EIC Unit EIC Unit 29 EIC Unit 47 EIC Unit EIC Unit 42
EIC Unit 91
ee Upton County Dickens County Karnes County San Saba County
502 E Main et eae ™X County Courthouse North Dickens County Senior Center County Courthouse TX Health and Human Services
10 is en 205 E 10th ST, Rankin, TX 511 Montgomery, Dickens, TX 210 W Calvert, Karnes City, TX 423 E Wallace ST, San Saba, TX
EIC Unit 92 EIC Unit 35 EIC Unit 56 EIC Unit Eic Unit 44
Foard County
Sheriff's Office Conference Room
110 S First ST, Crowell, TX
EIC Unit 57
Hartley County
County Courthouse
900 Main ST, Channing, TX
EIC Unit 59
Motley County
County 2nd Courthouse
701 Dundee, Matador, TX
EIC Unit 61
|Friday | —1Nov
Aransas County Crockett County Archer County Bandera County Blanco County

Current as of 171000 October 2013

County Courthouse
301 N Live Oak ST, Rockport, TX
EIC Unit

County Courthouse
909 Avenue D, Ozona, TX
EIC Unit 34

County Courthouse
100 S Center ST, Archer City, TX
EIC Unit 47

Ray Mauer Annex
403 12th ST, Bandera, TX
EIC Unit

District Court Room #23 on 2nd Floor
101 E Pecan ST, Johnson City, TX
EIC Unit 42

Jeff Davis County
County Courthouse THP Office
100 N State ST, Fort Davis, TX

EIC Unit 28

Dickens County
North Dickens County Senior Center
511 Montgomery, Dickens, TX
EIC Unit 56

Karnes County
County Courthouse
210 W Calvert, Karnes City, TX
EIC Unit

San Saba County
TX Health and Human Services
423 E Wallace ST, San Saba, TX
Eic Unit 44

Sterling County
County Courthouse
609 4th AVE, Sterling City, TX
EIC Unit 37

Foard County
Sheriff's Office Conference Room
110 S First ST, Crowell, TX
EIC Unit 57

Hartley County
County Courthouse
900 Main ST, Channing, TX
EIC Unit 59

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Motley County
County 2nd Courthouse
701 Dundee, Matador, TX
EIC Unit 61

TEX0506123
